      Case 1:25-cv-01283-ABA     Document 63     Filed 06/25/25       Page 1 of 17



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                      *
KalshiEX, LLC
                                      *
       Plaintiff                                   Case No.: 25-cv-1283-ABA
                                      *
v.
                                      *
John A. Martin, et al.,
                                      *
       Defendants.
                                      *

*      *      *      *     *    *     *      *     *      *       *        *     *   *

     DEFENDANTS’ SUPPLEMENTAL REPLY BRIEF IN OPPOSITION TO
         PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION



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       Case 1:25-cv-01283-ABA          Document 63        Filed 06/25/25      Page 2 of 17



       After supplemental briefing, Kalshi cannot meet its burden to show Congress’s clear and

manifest intent to preempt state gaming laws. Instead, Kalshi presents a radical argument that turns

the Commodity Futures Trading Commission (“CFTC”) into the nation’s gaming regulator and

sole gatekeeper of all other illegal contracts on derivatives exchanges. More plausible

interpretations are that: (1) the CFTC’s exclusive jurisdiction over contracts “traded or executed

on” regulated exchanges does not legalize transactions prohibited by other laws, such as unlicensed

gaming, the Wire Act,1 or IGRA;2 (2) gaming contracts are not “swaps;” (3) the CFTC already

categorically prohibited gaming contracts, and they are not subject to an additional case-by-case

public interest review; and (4) Maryland’s gaming laws do not conflict with the Commodity

Exchange Act (“CEA”).3 Any of these four arguments provide a more reasonable, cogent and

practical understanding of Congressional intent than that argued by Kalshi. Kalshi was right in the

Prior Litigation: Dodd-Frank was not intended to nationalize sports wagering regulation under the

CFTC.4 Accordingly, Maryland’s gaming laws are not preempted.

I.     Kalshi Agreed That Congress Did Not Intend to Preempt State Gaming Laws But
       Now Presents an Unsupported, Radical Argument.

       It is presumed that the states’ traditional, historic police powers are not preempted absent

the “clear and manifest purpose of Congress.” CSX Transp. v. Easterwood, 507 U.S. 658, 664

(1993); Wyeth v. Levine, 555 U.S. 555, 565 (2009). This presumption is even stronger “in a field

which the States have traditionally occupied” such as gaming, where the Supreme Court has



1
  18 U.S.C. § 1084
2
  25 U.S.C. §§ 2701 et seq.
3
  7 U.S.C. § 1 to § 27f
4
  As in Defendants’ Supplemental Brief, “Prior Litigation” refers to Kalshi’s prior statements made
in KalshiEX LLC v. Commodity Futures Trading Comm'n, No. CV 23-3257, 2024 WL 4164694,
at *1 (D.D.C. Sept. 12, 2024), dismissed, No. 24-5205, 2025 WL 1349979 (D.C. Cir. May 7, 2025)
and KalshiEX LLC v. Commodity Futures Trading Comm'n, 119 F.4th 58 (D.C. Cir. 2024).


                                                 1
       Case 1:25-cv-01283-ABA          Document 63        Filed 06/25/25      Page 3 of 17



acknowledged states having an interest in reducing “the social costs associated with it.” Medtronic,

Inc. v. Lohr, 518 U.S. 470, 485 (1996); Greater New Orleans Broad. Ass’n, Inc. v. United, 527

U.S. 173, 185 (1999); see also ECF 26 at 24 (collecting Supreme Court and Fourth Circuit cases).

Over multiple briefs, Kalshi has failed to show a “clear and manifest [Congressional] purpose”

that Dodd-Frank was enacted as a sports wagering law intended to preempt and replace all state

and federal gaming laws.

       Kalshi argued in the Prior Litigation that Dodd-Frank intended to exclude gaming contracts

from being traded on DCMs, and it is estopped from arguing otherwise now. ECF 37 at 11-12.

Previously, Kalshi noted that, “as the legislative history directly confirms, Congress did not want

sports betting to be conducted on derivatives markets,” citing the Congressional Record. See

Appellee’s Brief at 41, 45 KalshiEX LLC v. CFTC, No. 24-5205, 2024 WL 4802698 (D.C. Cir.

Nov. 15, 2024); (citing 156 Cong. Rec. S5906-07); ECF 26 at 13-14, 18, 25. Those Congressional

Record pages Kalshi cites contain a colloquy between Senators Feinstein and Lincoln that

manifests Congress’s intent to prevent sports wagering on regulated exchanges. See ECF 26 at 19;

156 Cong. Rec. S5902, S5906-7 (daily ed. July 15, 2010) (Sen. Feinstein) (expressing concern

about “derivative contract[s]” being “used predominantly by speculators or participants not having

a commercial or hedging interest”); Id. at S5907 (Sen. Lincoln) (“It would be quite easy to

construct an ‘event contract’ around sporting events;” “[t]hese types of contracts would not serve

any real commercial purpose,” but instead “would be used solely for gambling.”). The contents of

the Congressional Record are facts asserted by Kalshi in the Prior Litigation, and these facts were

accepted by the court in rendering its decision. Kalshi is estopped from denying this plain

Congressional intent to prohibit sports wagering on derivatives markets.




                                                 2
       Case 1:25-cv-01283-ABA          Document 63        Filed 06/25/25      Page 4 of 17



        Kalshi was right the first time. As noted in prior briefs in the pending litigation, through

Dodd-Frank, Congress added “swaps” to the CEA to increase regulation on complex derivatives

that contributed to the 2008 Financial Crisis. See ECF 26 at 7 (citing Inv. Co. Inst. v. CFTC, 891

F. Supp. 2d 162, 174 (D.D.C. 2012), as amended (Jan. 2, 2013), aff’d, 720 F.3d 370 (D.C. Cir.

2013). In adding swaps to the CFTC’s exclusive jurisdiction, Congress recognized that the

Financial Crisis presented an even bigger threat to economic stability than the commodities crises

of the 1970s that birthed the agency. See ECF 37 at 13. But Congress did not put sports betting

under the same regulatory scheme as grain futures and interest rate swaps, recognizing that one of

these things is not like the other.

        After Kalshi told the D.C. Circuit that it made “sense for Congress to say . . . Games are

out,” the “exigencies of the moment” shifted. See ECF 36-3 at 64 (18-21);5 New Hampshire v.

Maine, 532 U.S. 742, 749–50 (2001). Now Kalshi seeks to turn sports betting laws upside down.

In the pending litigation, Kalshi argues that the Special Rule, 7 U.S.C. § 7a-2(c)(5)(C), indicates

Congressional intent to preempt state gaming laws by putting sports wagers in the CFTC’s

exclusive jurisdiction as swaps. ECF 2 at 6-7, ECF 26 at 5, ECF 37 at 7-8.

        Kalshi’s current argument is radical because it nationalizes sports wagering regulation

under the CFTC. If sports wagers are swaps and the CFTC’s exclusive jurisdiction field-preempts

all other laws, no other sports wagering regulations can exist outside the CEA swap scheme. The

CEA prohibits “enter[ing] into a swap unless the swap is entered into on, or subject to the rules


5
  In Defendants Supplemental Brief, the referenced quote was identified as being made on January
17, 2025 as part of Oral Argument and citing https://www.courtlistener.com/audio/94558/
kalshiex-llc-v-cftc/ at 63:15 – 65:00, KalshiEX LLC, 119 F.4th 58 (last visited June 25, 2025).
Upon receiving Kalshi’s Supplemental brief and its exhibits, counsel determined that the
referenced quote had been misattributed. The statement was made on September 19, 2024 as part
of oral argument on the CFTC’s request for a stay pending its appeal of the D.C. district court’s
final judgement. See ECF 36 at 11-12.


                                                 3
       Case 1:25-cv-01283-ABA             Document 63         Filed 06/25/25       Page 5 of 17



of” a DCM and “prohibits anyone from soliciting or accepting orders for swaps or options contracts

if they are not registered with the CFTC as a futures commission merchant.” 7 U.S.C §§ 2(e),

6d(a)(1). Under a field preemption analysis, the CEA’s swaps framework does not allow for

parallel state or federal regulation.

        Kalshi erroneously contends that, under its current argument, a parallel system could exist

where sports wagers on DCMs are regulated by the CFTC, and all other sports wagers are covered

by other applicable laws. This contention is incorrect because the CEA would prohibit all sports

wagering “swaps” except on registered exchanges or by registered persons. If this Court adopts

Kalshi’s current argument, all sportsbooks must register under the CEA, and the CFTC becomes

the nation’s sole gaming regulator.

        Alternatively, more persuasively, and as Kalshi argued previously, Congress never

intended to make derivatives regulators into gaming commissioners. Appellee’s Brief at 41,

KalshiEX LLC, 2024 WL 4802698. The CFTC has no expertise or experience with sports

wagering. The CFTC has fewer than 700 employees, and its nominee for chair recently stated he

had no “plans to issue any guidance” on sports wagering “in the near term.” See Commodity

Futures Trading Commission (CFTC), EEOC, https://perma.cc/PY94-B9EV (last visited June 25,

2025); CoinDesk, LIVE: Brian Quintenz CFTC Nomination Hearing, at 1:08:18-21, YouTube

(June 10, 2025), https://tinyurl.com/448dfdn4n.

        Similarly, Congress cannot have intended for the CFTC to become general practitioners

required to interpret and apply any state or federal law. According to Kalshi, under the Special

Rule, the CFTC is required to decide whether an event contract is “unlawful under any Federal or

State law,” and after doing so, determine if the contract is in the public interest despite its illegality.

ECF 2 at 7. Under this interpretation, the CFTC would ultimately be required to decide if contracts




                                                    4
       Case 1:25-cv-01283-ABA           Document 63        Filed 06/25/25      Page 6 of 17



for assassinations, gaming, security-based swaps, drug trafficking, puppy mills, or any other illegal

activity (state or federal) are in the public interest. ECF 37 at 19-21. Based on Kalshi’s current

argument, if an entity self-certified such an illegal contract and the CFTC failed to act, any other

state or federal law enforcement actions would be preempted. ECF 2 at 7, ECF 29 at 9-11, ECF 36

at 30-31.

       Kalshi’s argument to this Court is patently absurd. The CFTC is not the nation’s gambling

regulator nor can it condone otherwise illegal agreements. “Congress could not have intended to

delegate a decision of such economic and political significance to an agency in so cryptic a

fashion.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000). In addition to

Congress, it would surprise the Murphy Court that they were replacing PASPA with the CEA

rather than returning the question of sports betting to the states. 6 See Murphy v. NCAA, 584 U.S.

453, 484 (2018).

       Congress did not intend to squeeze Kalshi’s radical, sweeping “elephant” argument into

the Special Rule “mousehole.” Whitman v. Am. Trucking Ass’ns., Inc., 531 U.S. 457, 468 (2001)

(Congress does not “hide elephants in mouseholes.”). The Congressional delegation contained in

the Special Rule was to apply a scalpel within the existing regulatory framework and not to enact

major policy changes. West Virginia v. EPA, 597 U.S. 697, 723 (2022) (“Congress intends to make

major policy decisions itself, not leave those decisions to agencies”). Finally, Kalshi’s radical

argument ignores: (1) Specific gaming statutes such as the Wire Act or IGRA govern over general

“swap” regulations under the CEA, and (2) Congress disfavors “repeals by implication” because

it “will specifically address preexisting law when it wishes to suspend its normal operations in a




6
 PASPA is the Professional and Amateur Sports Protection Act, 28 U.S.C. § 3702. The act
prohibited sports wagering nationwide except in certain grandfathered jurisdictions.


                                                 5
       Case 1:25-cv-01283-ABA          Document 63        Filed 06/25/25      Page 7 of 17



later statute.” See RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012);

Epic Sys. Corp. v. Lewis, 584 U.S. 497, 510 (2018).

       Congress speaks clearly and unmistakably when it intends to shift the traditional balance

of power. See Bond v. United States, 572 U.S. 844, 857–59 (2014). Throughout the briefing

process, Kalshi failed to meet its burden to show a “clear and manifest” Congressional intent to

preempt state gaming laws. Its statements in the Prior Litigation persuasively argue the opposite.

Based on these prior statements, all parties agree that Congress did not intend to turn the CFTC

into a gaming regulator and preempt traditional state police powers over that sphere by enacting

the Special Rule.

II.    The CFTC’s Exclusive Jurisdiction Over Contracts “Traded or Executed On”
       Regulated Exchanges Does Not Legalize Transactions Prohibited by Other Laws.

       Kalshi said it best in the Prior Litigation, noting that if a contract violated another law,

“that instrument would be banned regardless of the Special Rule.” Appellee’s Brief at 31,

KalshiEX LLC, 2024 WL 4802698; see also ECF 37 at 29-30 (noting that the CFTC does not have

exclusive jurisdiction over illegal transactions). Kalshi’s conclusion is correct because the CFTC’s

“exclusive jurisdiction” is not over DCMs, but over contracts “traded or executed on” DCMs. 7

U.S.C. § 2(a)(1)(A); ECF 37 at 15-16. Prohibited transactions cannot be “traded or executed on”

a regulated exchange and thus cannot be in the CFTC’s exclusive jurisdiction. 7 U.S.C. §

2(a)(1)(A), ECF 37 at 15-16. Being “traded or executed on” a regulated exchange does not

magically legalize activity otherwise prohibited by state or federal law. Rather, if another law

prohibits the transaction, it is similarly prohibited from being offered on CFTC-regulated

exchanges. Prohibited means prohibited.

       A more natural reading of the Special Rule, in light of the CEA’s existing self-certification

procedures, is that Congress empowered the CFTC to identify and remove banned transactions or



                                                 6
       Case 1:25-cv-01283-ABA           Document 63        Filed 06/25/25      Page 8 of 17



to undertake a public interest review if a transaction appears “similar” to something already

prohibited. This reading of the Special Rule reinforces and backstops prohibitions in other laws.

At the time of Dodd-Frank, Congress knew that sports wagering was generally prohibited

throughout the country via PASPA, the Wire Act, and IGRA. Through the Special Rule, Congress

was not authorizing the CFTC, either through action or inaction, to legalize gaming or any other

illegal conduct. Rather, Congress simply empowered the CFTC to police the markets it regulated

in light of the self-certification process without needing to wait for other law enforcement entities.

III.   Gaming Contracts Are Not Swaps – As Kalshi Previously Noted.

       In the Prior Litigation, Kalshi made a compelling argument that gaming contracts lack the

extrinsic economic consequences necessary to be qualified as swaps within the CFTC’s exclusive

jurisdiction. ECF 37 at 11-13. In support of its prior argument, Kalshi relied on the same examples

it proposes to this Court – the Super Bowl and the Masters Tournament. ECF 29 at 6; Plaintiff’s

Memorandum of Law, KalshiEX LLC v. CFTC, 2024 WL 397419 (D.D.C.), Doc. 17-1 at 33; ECF

37-2 at 31 (17-21). In the D.C. district court, Kalshi stated that these two events constitute games

with no extrinsic economic value. Plaintiff’s Memorandum, KalshiEX LLC, 2024 WL 397419,

Doc. 17-1 at 33. The D.C. district court issued a final appealable judgment based on the facts

presented in Kalshi’s motion for summary judgement. KalshiEX LLC v. CFTC, 2024 WL 4164694

at *13 (“Nor does [the question of whether a specific party will control a chamber of Congress]

bear any relation to any game—played for stakes or otherwise”). To this Court, Kalshi reverses

itself and claims that these two events do have an extrinsic economic impact. ECF 37-2 at 31 (17-

21). To justify this reversal, Kalshi highlights language in the Prior Litigation where it argued that

“generally” games have no extrinsic value but some may. ECF 36 at 18-22.




                                                  7
      Case 1:25-cv-01283-ABA          Document 63        Filed 06/25/25     Page 9 of 17



       Even if Kalshi equivocated on the absolute nature of games in the Prior Litigation, it did

not equivocate on the specific examples cited to both this Court and the D.C. district court. Both

the Masters and the Super Bowl are widely viewed gaming events.7 Given their popularity, if these

games do not have the requisite extrinsic economic consequences to be swaps, it is unlikely that

any other games do. Despite its prior equivocation, Kalshi is now estopped from arguing that its

gaming contracts – covering the Super Bowl, March Madness, Masters Tournament, and other less

widely watched sporting events – are such games.

       Even in the absence of judicial estoppel, Kalshi’s arguments in the Prior Litigation

persuasively establish that sports wagers are not swaps. “The only relevant legislative history …

confirms that contracts on ‘sporting events such as the Super Bowl, the Kentucky Derby, and

Masters Golf Tournament’ were precisely what Congress had in mind as ‘gaming’ contracts.”

Plaintiff’s Memorandum, KalshiEX LLC, 2024 WL 397419, Doc. 17-1 at 33 (emphasis original).

Further, “Congress did not want sports betting to be conducted on derivatives markets” because

games “are staged purely for entertainment and to facilitate betting. They have no independent

significance; their outcomes carry no economic risks.” Plaintiff’s Memorandum, KalshiEX LLC,

2024 WL 397419, Doc. 17-1 at 37, 41. Prohibiting gaming contracts on regulated exchanges made

sense because “[t]he basic purpose of [DCMs] is to allow ‘hedging’ of economic risk. Contracts

that ‘serve[] no commercial purpose at all’ may therefore not deserve to be traded on a regulated

exchange. And, at least in general, contracts relating to games--again, activities conducted for




7
 In addition to being widely watched, it is estimated that Americans bet over $23 billion on the
Super Bowl in 2024. American Gaming Association, Record 68 Million Americans to Wager
23.1B on Super Bowl LVIII, https://www.americangaming.org/record-68-million-americans-to-
wager-23-1b-on-super-bowl-lviii/, February 6, 2024 (last visited June 20, 2025).


                                                8
      Case 1:25-cv-01283-ABA             Document 63     Filed 06/25/25     Page 10 of 17



diversion or amusement--are unlikely to serve any ‘commercial or hedging interest.’” Appellee’s

Brief at 45, KalshiEX LLC, 2024 WL 4802698 (emphasis and alterations original).

       Kalshi’s arguments in the Prior Litigation mirror the Defendants’ same arguments in the

pending litigation. Both parties argue that Kalshi’s gaming contracts are based on the outcome of

the event, not on the occurrence of the event. ECF 26 at 13-14; ECF 36-3 at 64 (15-17) (stating,

“Whoever wins the Super Bowl, they'll be very happy. That doesn't have widespread economic

consequences”). In addition, both parties agree that, unlike swaps, sports wagers are connected to

no potential financial, economic, or commercial results in the marketplace. ECF 37 at 11-14

(collecting Kalshi quotes), 17-19 (noting that interest rate swaps promote economic efficiency by

trading floating for fixed rates, and currency swaps promote international commerce). When left

unregulated, swaps have threatened economic stability, resulting in Dodd-Frank, but, once again,

both parties agree that sports wagers have no such connection to commerce. ECF 37 at 11-13, 19-

21. Numerous canons of statutory interpretation (noscitur a sociis, implied repeal, no elephants in

mouseholes, no superfluidity specific governs the general) indicate that sports wagers are not

swaps. ECF 26 at 15-19. Finally, even Kalshi itself prevents participants – the only persons

acknowledged by Kalshi to have a hedging interest – from wagering on their own contests. ECF

37 at 10-11. Any one of these reasons provides compelling rationale in support of Kalshi’s first

argument that sports wagers are not swaps.

       Whether bound by judicial estoppel or not, this Court can rely on the persuasive arguments

made by Kalshi in the Prior Litigation and mirrored by the Defendants in the pending litigation to

reach the conclusion advanced by both parties: Kalshi’s gaming contracts fail to satisfy the

necessary economic consequences to qualify as swaps, and, as such “fall outside of the CFTC’s

exclusive jurisdiction.” ECF 36 at 22.




                                                9
      Case 1:25-cv-01283-ABA           Document 63        Filed 06/25/25       Page 11 of 17



IV.    Kalshi’s Gaming Contracts Are Prohibited on a DCM – They Are Not Subject to a
       Public Interest Review.

       Kalshi’s statutory analysis ends prematurely at the Special Rule. It conveniently forgot to

check the regulations “implementing the Special Rule.” ECF 2 at 7; see also ECF 29 at 11-12;

ECF 36 at 10. While the Special Rule authorizes the CFTC to undertake a public interest review

to determine if gaming contracts, among others, should be prohibited, see 7 U.S.C. § 7a-

2(c)(5)(C)(i), Kalshi ignores that the CFTC completed this public interest review and published a

final rule that categorically prohibits gaming contracts from being listed on a DCM – 17 C.F.R. §

40.11. ECF 36 at 10. Instead, Kalshi argues erroneously that the Special Rule requires a two-step

inquiry, see ECF 36 at 5, ignoring that the CFTC has already completed any required inquiry and

published Regulation 40.11.

       Regulation 40.11 has three parts. First, § 40.11(a)(1) provides that “a registered entity shall

not list for trading or accept for clearing . . . an agreement, contract, transaction or swap based

upon an excluded commodity, that involves, relates to, or references . . . gaming.” 17 C.F.R. §

40.11(a)(1) (emphasis added). Subsection (a)(1) is a per se prohibition on the exact, word-for-

word event contract categories delegated by Congress for agency review. If an event contract, such

as Kalshi’s gaming contracts, fall within this category, no further public interest review is required

and the contract is prohibited from being “traded or executed on” a DCM. See ECF 37 at 18-19.

Second, § 40.11(a)(2) provides for public interest review for contracts “similar to an activity

enumerated in § 40.11(a)(1).” Id.; 17 C.F.R § 40.11(a)(2) (emphasis added).

       The third and final subsection, § 40.11(c), considers the CEA’s self-certification process

and provides for a discretionary 90-day review process to delist a contract that violates § 40.11(a).

Notably, § 40.11(c) contains no language about a “public interest review.” 17 C.F.R. § 40.11(c).

See ECF 37 at 18-19. Subsection 40.11(c) is meant to allow the CFTC discretion to review event



                                                 10
      Case 1:25-cv-01283-ABA           Document 63           Filed 06/25/25   Page 12 of 17



contracts that “may involve” one of the prohibited categories under § 40.11(a)(1). The subsection

is permissive and does not require a 90-day review for event contracts that do involve such

prohibited categories, like Kalshi’s gaming contracts. The same is true of the Special Rule, which

merely requires the CFTC to make a public interest determination “no later than 90 days” from

when it commences a review—something the CFTC did long-ago when promulgating its

categorical determination in § 40.11(a)(1). See 7 U.S.C. §§ 7a-2(c)(5)(C)(i)–(ii), (iv).

       In § 40.11’s short history, the CFTC has functioned as described above. For example, in

the CFTC’s Review of Nadex Sports Contract Submissions, it notified Nadex “pursuant to

Commission regulation § 40.11(c), the Commission has commenced a 90-day review” and that

“[t]he Commission has determined that the Contracts may involve an activity enumerated in

Commission regulation 40.11(a)(1) and section 5c(c)(5)(C)(i) of the Commodity Exchange Act”

and requested Nadex suspend any listing and trading during the review. See Notification of

Commodity Futures Trading Commission (“Commission”) Commencement of 90-day Review of

Certain      Contract      Certifications        Submitted      on     December         19,     2024,

https://www.cftc.gov/sites/default/files/filings/documents/2025/orgdcmnadexnotlett250114.pdf

(last accessed June 24, 2025). The CFTC issued a similar letter for RSBIX NFL Futures Contracts.

See Notification of Commodity Futures Trading Commission (“CFTC” or “Commission”)

Commencement       of   90-day     Review   of    Proposed     RSBIX   NFL    Futures      Contracts),

https://www.cftc.gov/sites/default/files/filings/documents/2020/orgdcmerissignedletter201223.pd

f (last accessed June 24, 2025).

       At no point, in any brief filed in this Court, has Kalshi addressed the plain language of

§ 40.11(a)(1). See ECF 2 at 7; ECF 29 at 11-12; ECF 36 at 10. In the Prior Litigation, Kalshi noted

these undisputed points, that: (1) “a contract on the outcome of a sporting event” is the “classic




                                                  11
      Case 1:25-cv-01283-ABA          Document 63         Filed 06/25/25       Page 13 of 17



example” of gaming events that Congress does not want on derivatives exchanges; (2) such events

include the Super Bowl or Masters golf tournament; (3) such sporting events “are unlikely to serve

any ‘commercial or hedging interest;’” and (4) Congress thus enacted the Special Rule to address

those concerns. ECF 36 at 12. But then Kalshi argues that the Special Rule requires the CFTC to

undertake a two-step, case-by-case public interest analysis about whether its self-certified gaming

contracts can be offered on derivatives exchanges. ECF 36 at 20-21. Finally, Kalshi contends

without evidence that the CFTC “declined” to review its contracts. Id. at 2.

       Kalshi’s argument is incorrect and misleading – it’s not the end of the story. Pursuant to

the Congressional delegation of authority in the Special Rule, the CFTC undertook a public interest

review of the Special Rule’s enumerated categories (including gaming) and published

Regulation 40.11. ECF 26 at 6-7. Subsection 40.11(a)(1) categorically bans gaming contracts such

as those offered by Kalshi. Subsection 40(c) creates a permissive procedure for the CFTC to police

its regulated markets. The CFTC’s failure to commence a 90-day review, however, does not

legalize Kalshi’s prohibited contract. See DTCC Data Repository (U.S.) LLC v. CFTC, 25 F. Supp.

3d 9, 18 (D.D.C. 2014).

       Kalshi has ignored § 40.11(a)(1) in the instant case because it is fatal to Kalshi’s argument.

Regulation 40.11 provides that gaming contracts are per se prohibited, and no further public

interest review is required. 17 C.F.R. § 40.11(a)(1), (c). Because Kalshi’s gaming contracts

undisputedly involve “gaming” under 40.11(a)(1), they are prohibited and cannot be “traded or

executed on” a DCM and are outside the CFTC’s exclusive jurisdiction. See ECF 37 at 17-19.

V.     Maryland’s Sports Gaming Laws Complement the CEA – No Conflict Exists.

       The CEA’s “exclusive jurisdiction” provides only for conflict preemption, and Maryland’s

sports gaming laws complement the CEA. The “dramatic implications” Kalshi suggests in its




                                                12
      Case 1:25-cv-01283-ABA            Document 63          Filed 06/25/25   Page 14 of 17



supplemental brief are precisely conflict preemption concerns. See ECF 36 at 26. Kalshi makes

plain that Congress, in birthing the CFTC’s “exclusive jurisdiction,” was concerned about conflicts

between other federal law, state law, and the CEA hampering market efficiency. Id. Kalshi even

cites the American Agriculture matter to support its rationale, but this conflict preemption case

held that the CEA did not occupy the field, and that it was not impossible to comply with both

state and federal law. ECF 37 at 22 (citing Am. Agric. Movement, Inc., 977 F.2d 1147, 1154-55).

The only other circuit court to address the issue agreed. See FTC v. Ken Roberts Co., 276 F.3d

583, 591 (D.C. Cir. 2001) (“[T]he CFTC was created to regulate all commodities and commodities

trading; it does not follow from this, however, that Congress intended to preempt the activities of

all other federal agencies in their regulatory realms.”).8

       Moreover, legislative history suggests that Congress was concerned with incompatible

state laws. ECF 37 at 23 (citing 120 Cong. Rec. 30, 464 (Sept. 9, 1974) (statement of Senator

Curtis noting that the Act would only preempt state law if it “were contrary to or inconsistent with

Federal law.”); Commodity Futures Trading Commission Act: Hearings Before the Senate

Committee on Agriculture & Forestry, 93d Cong., 2d Sess. 685 (1974) (opposition of Senator

Clark to incompatible state laws)). In fact, one case cited by Kalshi highlights Congress’s conflict

preemption concerns. See Hofmayer v. Dean Witter & Co., 459 F. Supp. 733, 737 (N.D. Cal.

1978) (“[I]f any substantive State law regulating futures trading was contrary to or inconsistent

with Federal law, the Federal law would govern”) (quoting H.R.Rep.No.93-1383, 93d Cong., 2d

Sess. (1974) at 35-36). Kalshi, and the remainder of the federal district and state courts it cites,

miss this important Congressional intent.




8
 Plaintiffs also cite Leist v. Simplot, 638 F.2d 283, 322 (2d Cir. 1980), but this opinion contains
only a single sentence and no analysis of the CFTC’s exclusive jurisdiction.


                                                  13
      Case 1:25-cv-01283-ABA           Document 63        Filed 06/25/25       Page 15 of 17



        As the Seventh Circuit has noted, the CEA recognizes continued application of state law;

American Agriculture explicitly noted the savings clauses in the CFTC’s exclusive jurisdiction.

ECF 37 at 22 (discussing Am. Agric. Movement, Inc., 977 F.2d at 1155 and its progeny). The

Special Rule notes the continued application of “activity that is unlawful under any ... State law.”

In addition, 7 U.S.C. § 16(e) further preserves certain state law, notably § 16(e)(2) which explicitly

preempts certain State or local gaming laws (but not for swaps traded on regulated exchanges).

See 7 U.S.C. § 16(e).

        Kalshi erroneously argues that 7 U.S.C. § 13a-2(1) made it clear “that Congress did not

want states to bring enforcement actions against DCMs under federal law—let alone under the

state’s own law.” ECF 36 at 29-30. Instead, states can enforce the CEA’s antifraud provisions

against DCMs pursuant to § 13a-2. Compare Id. at §13a-2(1) (prohibiting states from bringing

CEA regulatory claims against “a contract market, derivatives transaction execution facility,

clearinghouse, floor broker, or floor trader) with id. at §§13a-2(8)(A) (authorizing state antifraud

actions against contract markets under CEA, only prohibiting such claims against “a floor broker,

floor trader, or registered futures association”), 13a-2(5) (authorizing state investigations of CEA

violations), 13a-2(7) (preserving any general state civil or criminal antifraud statute). Since the

statutory text provides ample room for states to bring enforcement actions, conflict preemption is

the logical interpretation.

        Maryland’s laws neither conflict with nor stand as an obstacle to the full purposes of the

CEA. Northern Virginia Hemp and Agric., LLC v. Virginia, 125 F.4th 472, 493 (4th Cir. 2025).

Kalshi has cited no evidence of a conflict or true obstacle between Maryland’s gaming laws and

the CEA. “[C]ourts should not seek out conflicts where none clearly exist.” Id. at 493. Whereas

the CEA addresses the efficient functioning of a derivatives market, Maryland’s gaming laws are




                                                 14
      Case 1:25-cv-01283-ABA            Document 63         Filed 06/25/25      Page 16 of 17



designed to protect the public from potential gambling vices. For example, the CEA’s “Core

Principles” govern, e.g., dispute resolution (17 C.F.R § 38.750), conflicts of interest (Id. at 38.850),

diversity (Id. at 38.1150), and disciplinary procedures (Id. at 38.700). Maryland’s gaming statute

requires, e.g., licensees to demonstrate financial stability (ECF 26 at 4), provides requirements for

responsible gaming to ensure licensees do not prey on persons with gambling addiction (Id.),

prohibits wagers from those who may influence the outcome (Md. Code Ann., St. Gov. § 9-1E-

11(a)), bans false or deceptive advertising (Id. at § 9-1E-07(b)(6)), and prohibits licensees from

having criminal associations or backgrounds (Id. at § 9-1E-07(b)(6) (ii), (iii); ECF 28-5 at ¶¶ 4-6).

       Undue influence provides a good example of this complement. Betting on one’s own

contests impairs the integrity of sports (and the wagering marketplace) and is prohibited by

Maryland’s gaming laws. But the CEA requires no such restrictions. Though as noted in Section

III, supra, Kalshi restricts wagers from participants, this feature is purely voluntary. Kalshi could

change its mind under the CEA, but it cannot under Maryland law. These restrictions are one

example of how Maryland’s gaming laws complement the CEA by promoting integrity in the game

itself and in wagering markets by eliminating undue influence.

       Maryland’s statutory requirements further enhance marketplace efficiency and the public

interest. The CFTC is not designed to regulate these gaming concerns, and Maryland thus provides

an industry-specific complement to the CEA.

                                          CONCLUSION

       Based on the foregoing, this Court should deny Kalshi’s Motion for a Preliminary

Injunction.




                                                  15
     Case 1:25-cv-01283-ABA         Document 63       Filed 06/25/25     Page 17 of 17



                               CERTIFICATE OF SERVICE


       I certify that, on this 25th day of June 2025, the foregoing was served by CM/ECF on all

registered CMF users.



                                           /s/ Max F. Brauer
                                           ____________________________________
                                           Max F. Brauer




                                              16
